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             EXHIBIT C
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                                                                                  ACTIVE

  Advisory Director, Asset & Wealth Management, New York


                         Personal       Experience




  Adj Recent Hire Date 1998-04-27
   Class/Class Year
   Reporting Group
   Business Unit
                           PMD 2006
                           AM Core
                           Public Markets Client Business
                                                                                                 Gender
                                                                                                 Ethnicity

                                                                                                                                    -
                                                                                                                                    Man




Employment Details
   Division                   Asset & Wealth Management                                         Work Location                  200W
   Reporting Group
   Sub Division
   Business Unit
   Level6
   Level7
                              AM Core
                              Client Solutions & Capital Markets
                              Public Markets Client Business
                              Client Solutions & Capital Markets
                              Public Markets Client Business
                                                                                                Work Phone
                                                                                                 Kerberos
                                                                                                 GS Email
                                                                                                 GUID
                                                                                                 Employee Status
                                                                                                                              -1 (212)357-7709




                                                                                                                               Active
   Levels                     Americas Client Business                                           FTE                           1.0
   Level9                     Sales Management ACB                                               OnFWA                         No
   DBS Code                   0001 000 A 168 0000                                               Adj Recent Hire
                                                                                                                               27-Apr-1998
   DBS Description            GSAM Mutual Fund Board                                            Date

   Legal Entity Description Goldman Sachs & Co. LLC                                              Original Hire Date 27-Apr-1998
   Detail Status Title        Advisory Director                                                  Last Day on
                                                                                                 Premise
   Job Code                   46547
                                                                                                Termination Date               •
   Job Code Description       Advisory Director
                                                                                                 Rehire Flag                   No
   Region                     Americas
                                                                                                 Hire Type                     Experienced
   Country                    United States
                                                                                                 Former Intern Flag •
   Office                     New York
                                                                                                 Former CW Flag                N




Job Details
   Function 1                No Function                                                         Commissioned?                  N
   Function 2                                                                                    Commission Type                •
   Producer                  Non-Revenue Producer                                                Divisional Title 1
   CWM I AMO Job Type •                                                                          Divisional Title 2
   Program                                                                                      JD/PQE Issue Year•
   Level




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Class Year
   Analyst Year    -                                                                          MBL Year •
   OPT Year                                                                                   VP Year           1998
   NAPA year                                                                                  EMD Year 2000
   Associate Year -                                                                           PMD Year 2006
   MBA Year




Name Details


-                       I
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Languages
 Language                                Speak                                 Read                            Write                           Translate




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                                                                               ACTIVE

  Advisory Director, Asset & Wealth Management, New York


  Demographics       h#H-i•fii       Experience



   Preferred Name                                                                             Job Code Description Advisory Director
  Adj Recent Hire Date 1998-04-27
   Class/Class Year
   Reporting Group
   Business Unit
                        PMO 2006
                        AM Core
                        Public Markets Client Business
                                                                                             Gender
                                                                                             Ethnicity

                                                                                                                               -Man




Self Identification

  -
Other Personal Details


  -            ■

Citizenship




Visa




National ID
National ID
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    -       ■

Contact Information
Phone Numbers



   -                                                                                  -
   1111



Addresses




Email Addresses




Emergency Contact Information




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Dependent Information




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                                                                                I


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         I                                                                      I




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                                                                                        ACT IVE

  Advisory Director, Asset & Wealth Management, New York


   Demographics         Personal




    Adj Recent Hire Date 1998-04-27
    Class/Class Year
    Reporting Group
    Business Unit
                             PMO 2006
                             AM Core
                             Public Markets Client Business
                                                                                                    Gender
                                                                                                    Ethnicity

                                                                                                                                       -
                                                                                                                                       Man




Experience Summary
    GS Tenure (Today)                          24.86                                                Adjusted Prior Exp Since UG                       12.84
    GS Tenure Since UG (Year End) 25.69                                                             Total Exp Since UG (Year End) 38.53
    Prior Exp Since UG                         12.84                                                Total Exp (Year End)                              38.53
    Adjustment to Prior Exp (Months) -




Vacation Balance




Notice Period Entitlement for Voluntary Termination

                                                                                                    -                      ■


GS Work Experience


-- ----•t·i
06-May-
2021

01-Jan-
2021
          Transfer


          Transfer
                        Reason


                        Functional Transfer


                        Organizational Reorg
                                               Advisof}' Director 46547


                                               Advisory Director 46547
                                                                             Advisory
                                                                             Director

                                                                             Advisory
                                                                             Director
                                                                                              Asset & Wealth
                                                                                               Management

                                                                                              Asset & Wealth
                                                                                              Management
                                                                                                                  AM Core


                                                                                                                  AM Core
                                                                                                                                   ·ii:iiii·iil··-••-
                                                                                                                                   1

                                                                                                                                 Public Markets
                                                                                                                                 Client Business

                                                                                                                                 Divisional
                                                                                                                                 Management -
                                                                                                                                                     Client Solutions &
                                                                                                                                                     capital Markets

                                                                                                                                                     Div Mgmt&
                                                                                                                                                     Operating Infra
                                                                                                                                                                           .
                                                                                                                                                                            .   New
                                                                                                                                                                        Amencas York

                                                                                                                                                                               New
                                                                                                                                                                       Amencas York
                                                                                                                                                                                       0001 000
                                                                                                                                                                                       A168
                                                                                                                                                                                       0000
                                                                                                                                                                                       0001 000
                                                                                                                                                                                       A751


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                                                                                                                                         Public                                                     0000

                                                                                                                                         Divisional                                                 0001 000
 30-Apr-   Job                                                                       Advisory          Asset & Wealth                                        Div Mgmt &                      New
                              Lateral/Reclassification Advisory Director 42220                                            AM Core        Management -                             Americas          A751
 2020      Reclassification                                                          Director          Management                                            Operating Infra                 York
                                                                                                                                         Public                                                     0000

                                                                                                                                         Divisional                                                 0001 000
 01-Feb-                                                                                               Asset & Wealth                                        Div Mgmt &                      New
           Data Change        Annual Recalculation     Advisory Director ADR1        Advisory Dir                         AM Core        Management -                             Americas          A751
 2020                                                                                                  Management                                            Operating Infra                 York
                                                                                                                                         Public                                                     0000

                                                                                                                                         Divisional                                                 0001 000
 29-Apr-   Return From                                                                                 Asset & Wealth                                        Div Mgmt &                      New
                              Return From Leave        Advisory Director ADR1        Advisory Dir                         AM Core        Management -                             Americas          A751
 2019      Leave                                                                                       Management                                            Operating Infra                 York
                                                                                                                                         Public                                                     0000

                                                                                                                                         Divisional                                                 0001 000
 19-Mar-   Paid Leave of      Paid Leave of                                                            Asset & Wealth                                        Div Mgmt &                      New
                                                       Advisory Director ADR1        Advisory Dir                         AM Core        Management -                             Americas          A751
 2019      Absence            Absence                                                                  Management                                            Operating Infra                 York
                                                                                                                                         Public                                                     0000

                                                                                                                                         Divisional                                                 0001 000
 01-Jan-                                                                                               Asset & Wealth                                        Div Mgmt &                      New
           Data Change        Divisional Job Change    Advisory Director ADR1        Advisory Dir                         AM Core        Management -                             Americas          A751
 2018                                                                                                  Management                                            Operating Infra                 York
                                                                                                                                         Public                                                     0000

                                                                                                                                         Divisional                                                 0001 000
 01-Jan-                                                                                               Asset & Wealth                                        Div Mgmt &                      New
           Transfer           Functional Transfer      Advisory Director ADR1        Advisory Dir                         AM Core        Management -                             Americas          A751
 2018                                                                                                  Management                                            Operating Infra                 York
                                                                                                                                         Public                                                     0000

                                                       Participating                                                                                                                               0001 020
 01-Nov-                                                                             PMD-Revenue       Asset & Wealth                    Public Markets      Client Solutions &
           Data Change        Divisional Job Change    Managing            PMDR                                           AM Core                                                 Americas Chicago A021
 2016                                                                                Producer          Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Participating                                                                                                                               0001 020
 01-Jan-                                                                             PMD-Revenue       Asset & Wealth                    Public Markets      Client Solutions &
           Data Change        Divisional Job Change    Managing            PMDR                                           AM Core                                                 Americas Chicago A021
 2013                                                                                Producer          Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Participating                                                                                                                               0001 020
 01-Jul-                                                                             PMD-Revenue       Asset & Wealth                    Public Markets      Client Solutions &
           Transfer           Other Transfer           Managing            PMDR                                           AM Core                                                 Americas Chicago A021
 2011                                                                                Producer          Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Participating                                                                                                                                0001 000
 01-Jul-                                                                             PMD-Revenue       Asset & Wealth                    Public Markets      Client Solutions &              New
           Transfer           Other Transfer           Managing            PMDR                                           AM Core                                                 Americas          A021
 2009                                                                                Producer          Management                        Client Business     Capital Markets                 York
                                                       Director                                                                                                                                     0000

                                                       Participating                                                                                                                               0001 020
 01-Apr-                                                                             PMD-Revenue       Asset & Wealth                    Public Markets      Client Solutions &
           Transfer           Other Transfer           Managing            PMDR                                           AM Core                                                 Americas Chicago A021
 2009                                                                                Producer          Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Participating                                                                                                                               0001 020
 27-Mar-                                                                             PMD-Revenue       Asset & Wealth                    Public Markets      Client Solutions &
           Data Change        Divisional Job Change    Managing            PMDR                                           AM Core                                                 Americas Chicago A035
 2009                                                                                Producer          Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Participating                                                                                                                               0001 020
 25-Nov-                                                                             PMD-Revenue       Asset & Wealth                    Public Markets      Client Solutions &
           Promotion          Promotion                Managing            PMDR                                           AM Core                                                 Americas Chicago A035
 2006                                                                                Producer          Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Extended                                                                                                                                    0001 020
 01-Oct-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &
           Data Change        Divisional Job Change    Managing            EMDR      EMD-Revenue                          AM Core                                                 Americas Chicago A035
 2005                                                                                                  Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Extended                                                                                                                                    0001 020
 03-Sep-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &
           Data Change        Conversion               Managing            EMDR      EMD-Revenue                          AM Core                                                 Americas Chicago A035
 2004                                                                                                  Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Extended                                                                                                                                    0001 020
 01-Dec-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &
           Transfer           Other Transfer           Managing            EMDR      EMD-Revenue                          AM Core                                                 Americas Chicago A035
 2001                                                                                                  Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0000

                                                       Extended                                                                                                                                    0001 020
 25-Nov-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &
           Promotion          Promotion                Managing            EMDR      EMD-Revenue                          AM Core                                                 Americas Chicago A032
 2000                                                                                                  Management                        Client Business     Capital Markets
                                                       Director                                                                                                                                    0032

                                                                                                                                                                                                   0001 020
 01-Jun-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &
           Transfer           Departmental Transfer    Vice President      RE52      Assoc-Sr-Sls                         AM Core                                                 Americas Chicago A032
 1999                                                                                                  Management                        Client Business     Capital Markets
                                                                                                                                                                                                   0032

                                                                                                                                                                                                   0001 020
 01-Dec-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &
           Promotion          Promotion                Vice President      RE52      Assoc-Sr-Sls                         AM Core                                                 Americas Chicago A769
 1998                                                                                                  Management                        Client Business     Capital Markets
                                                                                                                                                                                                   0768

                                                                                                                                                                                                   0001 020
 01-Dec-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &
           Transfer           Office Transfer          Vice President      RE52      Assoc-Sr-Sls                         AM Core                                                 Americas Chicago A769
 1998                                                                                                  Management                        Client Business     Capital Markets
                                                                                                                                                                                                   0768

                                                                                                                                                                                                    0001 000
 27-Apr-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &              New
           Data Change        Annual Recalculation     Vice President      RE42      Assoc-Int-Sls                        AM Core                                                 Americas          A769
 1998                                                                                                  Management                        Client Business     Capital Markets                 York
                                                                                                                                                                                                    0768

                                                                                                                                                                                                    0001 000
 27-Apr-                                                                                               Asset & Wealth                    Public Markets      Client Solutions &              New
           Hire               New Hire                 Vice President      RE42      Assoc-Int-Sls                        AM Core                                                 Americas          A769
 1998                                                                                                  Management                        Client Business     Capital Markets                 York
                                                                                                                                                                                                    0768




Prior Work Experience
 Start Date                     End Date                           Job Title                                Company                                              Duration                Country
 01-Feb-1993                    01-Apr-1998                        Mutual Funds                             Dreyfus Corporation                                  5.16                    -
 01-Jun-1985                    01-Feb-1993                        Sales Manager                            Spectra Physics Inc                                  7.67                    -

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Education
@,jjjjfrj-        School
                                                Bli·Mi·eMINM®iiM::                                                   y
                                                                                                                                                        lllla-WHE◄
Bachelors         Ohio Slate University          USA     USA                                    01-Jun-1985                              01-Jun-1985     Marl<eting




Leave Of Absence History




Termination History


Separate Employment Contract Assignment


Secondment History


Benefits Program Code




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